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                                                                                         AREA 15 LAS VEGAS LLC
                                                                                    7
                                                                                    8
                                                                                                                   UNITED STATES DISTRICT COURT
                                                                                    9
                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
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                                                                                   10
                                                                                         IN RE SUBPOENAS TO                       CASE NO.: 8:23-mc-0004
                                                                                   11    LISA JARAMILLO, AND
                                            2049 Cent ury Park East, Suite 3550




                                                                                         GEORGE JARAMILLO, I                      Underlying Litigation:
                                               Los Angel es, CA 90 067-3550




                                                                                   12                                             Case No. 2:21-cv-00891-RFB-BNW
                                                                                                                                  United States District Court
                                                       310.500.4600




                                                                                   13    GEORGE JARAMILLO, II,                    District of Nevada
                                                                                         an individual,
                                                                                   14                                                     [DISCOVERY MATTER]
                                                                                                      Plaintiff,
                                                                                   15                                             AREA 15 LAS VEGAS LLC’S NOTICE
                                                                                         v.                                       OF MOTION AND MOTION:
                                                                                   16
                                                                                         AREA 15 LAS VEGAS LLC, a                 (1) TO ENFORCE SUBPOENAS DUCES
                                                                                   17    Delaware Limited Liability               TECUM IN A CIVIL CASE TO
                                                                                         Company, AREA 15 GLOBAL                  GEORGE JARAMILLO, I AND TO
                                                                                   18    LLC, a Delaware Limited Liability        LISA JARAMILLO;
                                                                                         Company, ARNOLD FISHER, an
                                                                                   19    Individual, KENNETH FISHER, an           (2) FOR AN ORDER TO SHOW CAUSE
                                                                                         Individual, STEVEN FISHER, an            AS TO WHY THE JARAMILLOS
                                                                                   20    Individual, WINSTON FISHER, an           SHOULD NOT BE HELD IN
                                                                                         Individual, FISHER BROTHERS              CONTEMPT UNDER FRCP 45(g); AND,
                                                                                   21    MANAGEMENT CO. LLC, a New
                                                                                         York Limited Liability Company,          (3) TO TRANSFER THIS SUBPOENA-
                                                                                   22    FISHER BROTHERS FINANCIAL                RELATED MOTION TO THE
                                                                                         AND DEVELOPMENT                          DISTRICT OF NEVADA
                                                                                   23    COMPANY LLC, a New York
                                                                                         Limited Liability Company, and           Judge:              TBD
                                                                                   24    DOES 1-50 Inclusive                      Hearing Date:       TBD
                                                                                                                                  Hearing Time:       TBD
                                                                                   25                 Defendants.                 Courtroom:          TBD
                                                                                   26
                                                                                   27
                                                                                   28
                                                                                                                                                             CASE NO. 8:23:mc-0004
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                                                                                        TECUM IN A CIVIL CASE TO GEORGE JARAMILLO, I AND TO LISA JARAMILLO etc.
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                                                                                    1                         NOTICE OF MOTION AND MOTION
                                                                                    2    TO ALL PARTIES AND ANY ATTORNEYS OF RECORD:
                                                                                    3          PLEASE TAKE NOTICE that on January 31, 2023 Movant Area 15 Las
                                                                                    4    Vegas LLC (“Area 15 LV”) moves the United States District Court for the Central
                                                                                    5    District of California, located at 411 W. 4th Street, Santa Ana, California, for an
                                                                                    6    order seeking the seeking three specific types of relief (“Motion”).
                                                                                    7          First, Area 15 LV moves to enforce two subpoenas duces tecum
                                                                                    8    (“Subpoenas”): one served on George Jaramillo, I (“Mr. Jaramillo”) and one
                                                                                    9    served on Lisa Jaramillo (“Mrs. Jaramillo”) (collectively, “the Jaramillos”). The
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                                                                                   10    Subpoenas were served under Federal Rule of Civil Procedure (“FRCP”) 45 and
                                                                                   11    were issued in connection with the matter George Jaramillo, II v. Area 15 Las
                                            2049 Cent ury Park East, Suite 3550
                                               Los Angel es, CA 90 067-3550




                                                                                   12    Vegas, LLC et al., Case No. 2:21-cv-00891-RFB-BNW (“Underlying Litigation”),
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                                                                                   13    currently pending in the United States District Court for the District of Nevada
                                                                                   14    (“Nevada District Court”).
                                                                                   15          Second, a subpoena is a court order. The Jaramillos are not typical
                                                                                   16    laypersons: Mrs. Jaramillo is a legal assistant and Mr. Jaramillo is a disbarred
                                                                                   17    California attorney, with significant litigation experience, still working at a law
                                                                                   18    firm. With this professional experience, the Jaramillos should understand the
                                                                                   19    obligations of FRCP 45. But they have ignored their obligations by failing to either
                                                                                   20    comply with or object to the Subpoenas. The deadlines for either action have
                                                                                   21    expired. Thus, Area 15 LV moves for an order requiring the Jaramillos to show
                                                                                   22    cause as to why they should not be held in contempt for disregarding court orders,
                                                                                   23    the Subpoenas, under FRCP 45(g).
                                                                                   24          Third, Area 15 LV moves to transfer this Motion to the Nevada District
                                                                                   25    Court, where a related motion to compel discovery (“Nevada Motion to Compel”)
                                                                                   26    from the plaintiff in that case, George Jaramillo, II (“Jaramillo Jr.”), is pending in
                                                                                   27    the Underlying Litigation. The Nevada Motion to Compel concerns, in large part,
                                                                                   28    Jaramillo Jr.’s blanket, nonspecific, and improper assertions of attorney-client and
                                                                                                                                    1                        CASE NO. 8:23:mc-0004
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                                                                                    1    work-product privileges over communications and documents exchanged with his
                                                                                    2    parents, the Jaramillos, at any time—including those exchanged prior to
                                                                                    3    contemplating the Underlying Litigation or retaining counsel. The privilege dispute,
                                                                                    4    which is anticipated to be raised in opposition hereto, remains a live and pending
                                                                                    5    dispute to be adjudicated by the Nevada District Court, set for hearing on March 9,
                                                                                    6    2023. The dispute should be resolved there given the Nevada District Court’s
                                                                                    7    familiarity with the Underlying Litigation and to ensure consistency of decisions on
                                                                                    8    the significant privilege issue.
                                                                                    9          For the reasons below, Area 15 LV requests that this Court first grant the
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                                                                                   10    request to transfer this Motion to the Nevada District Court to allow the Motion to
                                                                                   11    be adjudicated alongside the related and overlapping Nevada Motion to Compel.
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                                                                                   12    Further, regardless of which District Court adjudicates the Motion, the Court should
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                                                                                   13    enter an order: (1) enforcing the Jaramillos’ obligation to comply with the
                                                                                   14    Subpoenas within ten days of the entry of the order; and (2) requiring the Jaramillos
                                                                                   15    to show cause why they should not be held in contempt for their failure to either
                                                                                   16    comply with or object to the Subpoenas.
                                                                                   17          This Motion is based on the following memorandum of points and
                                                                                   18    authorities, the exhibits attached here, the declaration of Travis F. Chance, Esq.
                                                                                   19    (“Exhibit 1”), and any argument of counsel on the Motion that this Court may hear.
                                                                                   20    Because this Motion is brought against unrepresented non-parties to the Underlying
                                                                                   21    Litigation, L.R. 7-3 and 45-1 do not require a pre-filing conference.
                                                                                   22          DATED this 31st day of January, 2023.
                                                                                   23                                       BROWNSTEIN HYATT FARBER SCHRECK,
                                                                                                                            LLP
                                                                                   24
                                                                                   25                                       BY: /s/ Travis F. Chance
                                                                                                                                   TRAVIS F. CHANCE
                                                                                   26                                              EMILY L. DYER
                                                                                                                            Attorneys for Movant,
                                                                                   27                                       AREA 15 LAS VEGAS LLC
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                                                                                    1                 MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                    2    I.    INTRODUCTION
                                                                                    3          “A properly issued subpoena is itself a court order, and a party’s
                                                                                    4    noncompliance may warrant contempt sanctions.” Molina v. City of Visalia, No.
                                                                                    5    1:13-CV-01991-LJO, 2015 WL 5193584, at *2 (E.D. Cal. Sept. 4, 2015) (citing
                                                                                    6    Pennwalt Corp. v. Durand-Wayland, Inc., 708 F.2d 492, 494 n.5 (9th Cir. 1983)
                                                                                    7    and U.S. S.E.C. v. Hyatt, 621 F.3d 687, 693 (7th Cir. 2010)). Area 15 LV seeks to
                                                                                    8    enforce two Subpoenas properly issued to the Jaramillos.
                                                                                    9          As a preliminary matter, the Subpoenas are substantially intertwined with the
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                                                                                   10    Nevada Motion to Compel in the Underlying Litigation, which is set to be heard via
                                                                                   11    Zoom by the Nevada District Court on March 9, 2023. The plaintiff in that matter,
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                                                                                   12    Jaramillo Jr., has produced next to nothing in a lawsuit he brought, alleging serious
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                                                                                   13    and devastating claims of discrimination against not only his former employer, but
                                                                                   14    also against a number of individuals and corporate entities. The Nevada District
                                                                                   15    Court already dismissed many of the claims and found no jurisdiction over several
                                                                                   16    of the Defendants, but did so without prejudice. Jaramillo Jr. then filed an Amended
                                                                                   17    Complaint against all of the same parties, alleging all of the same claims, without
                                                                                   18    curing the many deficiencies. Second, Motions to Dismiss have been fully briefed
                                                                                   19    and have now been set for argument on March 10, 2023. Discovery has continued,
                                                                                   20    but Jaramillo Jr. refuses production based, in large part, on bogus claims of
                                                                                   21    attorney-client and work-product privileges. Indeed, Jaramillo Jr. asserts these
                                                                                   22    privileges to withhold documents and communications exchanged with his parents,
                                                                                   23    the Jaramillos, based solely on their employment with attorney Edwin Brown
                                                                                   24    (“Attorney Brown”), Jaramillo Jr.’s counsel in the Underlying Action, despite the
                                                                                   25    fact that Jaramillo Jr. testified he sent notes to his parents before he ever
                                                                                   26    contemplated retaining Attorney Brown or initiating the Underlying Litigation.
                                                                                   27    Jaramillo Jr. retained Attorney Brown in the Underlying Litigation on September
                                                                                   28    24, 2020, and takes the position that any documents or communications exchanged
                                                                                                                                    1                        CASE NO. 8:23:mc-0004
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                                                                                    1    with his parents about any subject matter and at any time are privileged. This
                                                                                    2    position is not only wrong, but it also purposefully obstructs the discovery process.
                                                                                    3    And so, the Nevada Motion to Compel seeks to resolve this dispute. Because the
                                                                                    4    instant Motion will require resolution of the exact same issue, the interests of
                                                                                    5    justice and judicial economy would best be served by transferring the Motion to the
                                                                                    6    District of Nevada to ensure a consistency of rulings.
                                                                                    7          The Jaramillos will not be burdened by such a transfer. They have substantial
                                                                                    8    ties to the Underlying Litigation and Nevada itself: (1) they have a home in Las
                                                                                    9    Vegas, Nevada and (2) they are the parents of the plaintiff in the Underlying
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                                                                                   10    Litigation in Nevada. But even if traveling to Nevada was arguably burdensome to
                                                                                   11    the Jaramillos, the presiding magistrate judge in the Underlying Litigation holds her
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                                               Los Angel es, CA 90 067-3550




                                                                                   12    hearings by Zoom so the Jaramillos could appear remotely if they do not choose to
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                                                                                   13    travel to their Las Vegas home. These exceptional circumstances weigh in favor of
                                                                                   14    allowing the Nevada District Court to resolve the Motion alongside the overlapping
                                                                                   15    Nevada Motion to Compel.
                                                                                   16          Regardless of whether this Motion is adjudicated in California or Nevada, the
                                                                                   17    Subpoenas are court orders that must be enforced. See Molina, 2015 WL 5193584,
                                                                                   18    at *2. The Subpoenas were properly issued and personally served on Mr. Jaramillo
                                                                                   19    on December 22, 2022, and on Mrs. Jaramillo—despite several efforts to evade
                                                                                   20    service—on January 9, 2023. They commanded the Jaramillos to produce certain
                                                                                   21    documents to Area 15 LV by email or by personal appearance at a location within
                                                                                   22    100-miles from their home and workplace. The Jaramillos failed to object to the
                                                                                   23    Subpoenas within 14 days under FRCP 45(d)(2)(B), failed to move to quash the
                                                                                   24    Subpoenas under FRCP 45(d)(3), and failed to contact Area 15 LV regarding the
                                                                                   25    Subpoenas at all. Rather the Jaramillos entirely disregarded the Subpoenas.
                                                                                   26          The Jaramillos’ opportunity to object to or comply with the Subpoenas has
                                                                                   27    expired. Their compliance or objections were required by January 19, 2023. The
                                                                                   28    Jaramillos have therefore waived any opportunity to challenge the Subpoenas. In re
                                                                                                                                    2                        CASE NO. 8:23:mc-0004
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                                                                                    1    DG Acquisition Corp., 151 F.3d 75, 81 (2d Cir. 1998); Schwarzer, Tashima &
                                                                                    2    Wagstaffe, CAL. PRAC. GUIDE: FED. CIV. PROC. BEFORE TRIAL, § 11:2293 (2005
                                                                                    3    rev.). But, to be sure, it is anticipated that the Jaramillos will attempt to raise an
                                                                                    4    untimely objection based on the privilege dispute identified above. Not only do the
                                                                                    5    Jaramillos lack standing to assert the objection on behalf of Jaramillo Jr., the
                                                                                    6    privileges do not apply to the documents and communications sought. The
                                                                                    7    Subpoenas primarily seek documents and communications that either: (1) were
                                                                                    8    exchanged between the Jaramillos and Jaramillo Jr. well before Jaramillo Jr.
                                                                                    9    retained Attorney Brown—or even contemplated the Underlying Litigation; or
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                                                                                   10    (2) clearly fall outside of the scope of the privileges as they seek documents that
                                                                                   11    neither seek nor give legal advice, but instead, documents that purportedly evidence
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                                                                                   12    facts to which Jaramillo Jr. testified in his deposition or squarely placed at issue in
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                                                                                   13    his Amended Complaint. Area 15 LV therefore moves for an order enforcing the
                                                                                   14    Subpoenas and requiring the Jaramillos to show cause for their failure to respond in
                                                                                   15    any manner set forth in FRCP 45.
                                                                                   16    II.   FACTUAL AND PROCEDURAL BACKGROUND
                                                                                   17          A.     Jaramillo Jr. Initiates the Underlying Litigation in Nevada.
                                                                                   18          Jaramillo Jr. sued Area 15 LV and its co-defendants in Nevada in May 2021,
                                                                                   19    alleging serious claims for discrimination based on race and sexual orientation, and
                                                                                   20    other unmeritorious claims, such as fraud and defamation.1 Essentially, Jaramillo Jr.
                                                                                   21    alleges that he was recruited to work for Area 15 LV, promised substantial pay and
                                                                                   22    scheduled pay increases, and was subsequently fired under false pretenses for
                                                                                   23    attempting to complain about race and sexual orientation discrimination.2
                                                                                   24
                                                                                   25
                                                                                         1
                                                                                   26      Decl. of Travis F. Chance, Esq. (“Chance Decl.”), ¶ 5, attached as Exhibit 1; see
                                                                                         also George Jaramillo, II v. Area 15 Las Vegas, LLC et al., Case No. 2:21-cv-
                                                                                   27    00891-RFB-BNW (D. Nev. May 6, 2021) (herein, “Underlying Litigation”) at Am.
                                                                                         Compl., ECF No. 69 (June 27, 2022), attached as Exhibit 2.
                                                                                   28    2
                                                                                           Ex. 1, Chance Decl., ¶ 5; see also Ex. 2, Am. Compl., generally.
                                                                                                                                    3                        CASE NO. 8:23:mc-0004
                                                                                        NOTICE OF MOTION AND MOTION (1) TO ENFORCE SUBPOENAS DUCES
                                                                                        TECUM IN A CIVIL CASE TO GEORGE JARAMILLO, I AND TO LISA JARAMILLO etc.
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                                                                                    1          B.     Jaramillo Jr. Stonewalls Area 15 LV’s Discovery Efforts
                                                                                    2          Jaramillo Jr. served 1,671 written discovery requests on Area 15 LV and its
                                                                                    3    co-defendants in the Underlying Litigation. Defendants complied with their
                                                                                    4    discovery obligations in good faith and provided Jaramillo Jr. with more than
                                                                                    5    100,000 pages of documents, a privilege log for withheld materials, and substantive
                                                                                    6    responses to his discovery requests.3
                                                                                    7          Jaramillo Jr.’s participation in discovery has been just the opposite. Most
                                                                                    8    importantly, he has refused to respond substantively or completely to Area 15 LV’s
                                                                                    9    document requests despite having several months and opportunities to do so.4 He
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                                                                                   10    initially responded to the requests with boilerplate objections and virtually no
                                                                                   11    substantive responses, failing to produce even a single responsive document or
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                                                                                   12    privilege log.5 This is remarkable because Jaramillo Jr. asserted boilerplate, blanket
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                                                                                   13    objections on the basis of attorney-client and work-product privileges to at least 225
                                                                                   14    of the 295 requests—including to the requests seeking documents and
                                                                                   15    communications exchanged between himself and his parents, the Jaramillos.6 And it
                                                                                   16    is even more remarkable given that Jaramillo Jr. has testified to possessing
                                                                                   17    responsive documents, i.e., as handwritten and electronic notes shared with his
                                                                                   18    parents, including by email, which allegedly contain the purported quotes from his
                                                                                   19    pleading and motion papers in the Underlying Litigation.7
                                                                                   20
                                                                                         3
                                                                                           Ex. 1, Chance Decl., ¶ 7.
                                                                                   21    4
                                                                                           Id. ¶¶ 8-9.
                                                                                         5
                                                                                           Id.; see also Underlying Litigation, Area 15 LV’s Mot. to Compel, ECF No. 93
                                                                                   22    (Jan. 23, 2023), attached as Exhibit 3 (exhibits omitted); Underlying Litigation,
                                                                                         Jaramillo Jr.’s Discovery Responses, attached as Exhibit 4.
                                                                                   23    6
                                                                                            Ex. 1, Chance Decl., ¶¶ 7-9; see also, e.g., Ex. 4, Jaramillo Jr. Discovery
                                                                                   24    Responses at Requests Nos. 126 and 127 (objecting to the requests on the basis of
                                                                                         privilege despite the requests requesting documents and communications
                                                                                   25    exchanged between him and his parents—not his attorney).
                                                                                         7
                                                                                            For example, Jaramillo Jr. testified to having documents and communications
                                                                                   26    concerning the alleged wrongful conduct in the Underlying Litigation. See, e.g.,
                                                                                         Excerpts of George Jaramillo, II Dep. (herein, “Jaramillo Jr. Dep.”), attached as
                                                                                   27    Exhibit 5, at 191:11-198:11; 261:9–263:24. And he has alleged that the actions
                                                                                         giving rise to the Underlying Litigation required him to seek medical treatment.
                                                                                   28    See, e.g., Ex. 2, ECF No. 69, Am. Compl., ¶¶ 99-100. Surely, Jaramillo Jr. has
                                                                                                                                    4                        CASE NO. 8:23:mc-0004
                                                                                        NOTICE OF MOTION AND MOTION (1) TO ENFORCE SUBPOENAS DUCES
                                                                                        TECUM IN A CIVIL CASE TO GEORGE JARAMILLO, I AND TO LISA JARAMILLO etc.
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                                                                                    1          Area 15 LV met and conferred with Jaramillo Jr. about his deficient
                                                                                    2    responses multiple times beginning with a lengthy letter on November 3, 2022.8
                                                                                    3    While Jaramillo Jr. withdrew his privilege objection to several of Area 15 LV’s
                                                                                    4    requests as admittedly inapplicable, he still continues to claim privilege to certain
                                                                                    5    requests.9
                                                                                    6          Because Jaramillo Jr. had not provided a privilege log or preserved his
                                                                                    7    privilege objections beyond the boilerplate language in his deficient responses,
                                                                                    8    Area 15 LV moved to compel Jaramillo Jr. in the Underlying Litigation to produce
                                                                                    9    the withheld responsive documents and a privilege log on January 23, 2023.10 The
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                                                                                   10    Nevada Motion to Compel is currently pending before the Nevada District Court
                                                                                   11    with a hearing set for March 9, 2023 via Zoom.11 To resolve the Nevada Motion to
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                                                                                   12    Compel, the Nevada District Court must necessarily decide whether Jaramillo Jr.’s
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                                                                                   13    privilege objections are meritorious—including those asserted in reference to
                                                                                   14    documents and communications exchanged with his parents—and, if so, the date
                                                                                   15    the privilege attached to communications and documents at issue.12
                                                                                   16          Only after Area 15 LV filed the Nevada Motion to Compel, Jaramillo Jr.
                                                                                   17    attempted to supplement his discovery responses on January 26, 2023, and provided
                                                                                   18    a privilege log for the first time on January 30, 2023. 13 But his supplemental
                                                                                   19    responses remain deficient. He still has not produced documents that he has
                                                                                   20    testified to having or that he indisputably has the right to obtain (e.g. medical
                                                                                   21
                                                                                   22
                                                                                   23    control over his medical records that would support such allegations. Yet he has
                                                                                         never produced any such records. Ex. 1, Chance Decl., ¶¶ 14, 16.
                                                                                         8
                                                                                   24       Ex. 1, Chance Decl., ¶¶ 10-12; see also Meet and Confer Letter, dated Nov. 14,
                                                                                         2022, attached as Exhibit 6; Response Letter to Meet and Confer Letter, dated Nov.
                                                                                   25    18, 2022, attached as Exhibit 7; Email Thread, attached as Exhibit 8.
                                                                                         9
                                                                                            Ex. 1, Chance Decl., ¶ 11; see also Ex. 8, Email Chain, at 447.
                                                                                         10
                                                                                   26        Ex. 3, Nevada Mot. to Compel.
                                                                                         11
                                                                                             Underlying Litigation, Min. Order (Jan. 24, 2023), ECF No. 94, attached as
                                                                                   27    Exhibit 9.
                                                                                         12
                                                                                             Ex. 1, Chance Decl., ¶ 13; see also Ex. 3, Nevada Motion to Compel.
                                                                                   28    13
                                                                                             Ex. 1, Chance Decl., ¶¶ 14-15.
                                                                                                                                    5                        CASE NO. 8:23:mc-0004
                                                                                        NOTICE OF MOTION AND MOTION (1) TO ENFORCE SUBPOENAS DUCES
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                                                                                    1    records).14
                                                                                    2          Further, the newly provided privilege log is also deficient. It does not cover
                                                                                    3    any communications between Jaramillo Jr. and Mrs. Jaramillo.15 It also does not
                                                                                    4    cover any of the draft emails that Jaramillo Jr. saved to his email account.16 And it
                                                                                    5    covers only communications exchanged between Jaramillo Jr. and Mr. Jaramillo
                                                                                    6    from July 10, 2020 to August 25, 2020, summarily claiming privilege on the basis
                                                                                    7    of attorney-work product. 17 Notably, the time period is prior to September 24,
                                                                                    8    2020, meaning the communications cover a time period during which Jaramillo Jr.
                                                                                    9    was not contemplating litigation per his own testimony and cover communications
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                                                                                   10    exchanged prior to the date that Jaramillo Jr. retained (or thought about retaining)
                                                                                   11    Attorney Brown for the Underlying Litigation.18
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                                                                                   12          The reality is that Jaramillo Jr. cannot produce a meritorious privilege log to
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                                                                                   13    support his ongoing, boilerplate privilege objections. Jaramillo Jr. explicitly
                                                                                   14    testified that he did not retain or even consider retaining Attorney Brown until
                                                                                   15    September 24, 2020.19 Area 15 LV’s discovery requests seek documents from as
                                                                                   16    early as 2012—well before Jaramillo Jr. became involved with Area 15 LV in 2019
                                                                                   17    and before the alleged wrongful conduct occurred in 2020. 20 The Underlying
                                                                                   18    Litigation could not possibly have been contemplated until thereafter, and so no
                                                                                   19
                                                                                         14
                                                                                   20       Id., ¶ 14; see also Ex. 5, Jaramillo Jr. Dep., at 191:11-198:11; 249:11-251:14;
                                                                                         261:9–263:24.
                                                                                         15
                                                                                   21    16
                                                                                            Ex. 1, Chance Decl., ¶ 15.
                                                                                         17
                                                                                            Id.
                                                                                   22       Id. Curiously, the privilege log includes a designated column of “Persons with
                                                                                         Access.” Id. This column lists Attorney Brown for nearly every document withheld,
                                                                                   23    seemingly claiming privilege over communications exchanged prior to Attorney
                                                                                         Brown being retained on the basis of him having access to the documents after the
                                                                                   24    fact.
                                                                                         18
                                                                                               Id.
                                                                                            Id.; see also Ex. 5, Jaramillo Jr. Dep., at 191:11-198:11; 261:9–263:24; 265:2-4.
                                                                                         19
                                                                                   25       Ex. 5, Jaramillo Jr. Dep., at 192:17-199:5; 264:19-266:6; see also email from
                                                                                         George Jaramillo, II, dated Sept. 23, 2020, attached as Exhibit 10 (“I just received
                                                                                   26    an email from your attorney. It is not my wish to engage attorneys. It is my wish to
                                                                                         resolve this amicably. I am also not equipped to deal with attorneys, as I am not
                                                                                   27    one, and do not want to have to hire one.”).
                                                                                         20
                                                                                            See, e.g., Ex. 4, Jaramillo Jr.’s Discovery Responses, Request Nos. 2-6, 29-30,
                                                                                   28    223-225; Ex. 2, Am. Compl., ¶¶ 24, 27, 40; see also id. generally.
                                                                                                                                    6                        CASE NO. 8:23:mc-0004
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                                                                                    1    privilege could apply to documents before these dates.
                                                                                    2          Moreover, Area 15 LV seeks documents that cannot fall under the asserted
                                                                                    3    privileges based on their nature, regardless of when they are dated. The sought-after
                                                                                    4    documents neither seek nor give legal advice. Instead, the Subpoenas seek materials
                                                                                    5    that relate to factual testimony. For example, the requests sought, in part,
                                                                                    6    contemporaneous notes that Jaramillo Jr. testified to keeping during his
                                                                                    7    employment with Area 15 LV and to sharing with his parents, often by email,
                                                                                    8    before he ever contemplated litigation.21 Such documents merely record Jaramillo
                                                                                    9    Jr.’s perception of the alleged wrongdoing. Area 15 LV also seeks documents
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                                                                                   10    related to Jaramillo Jr.’s purported expenses while living at the Jaramillos’ house in
                                                                                   11    Las Vegas and financial support the Jaramillos may have provided Jaramillo Jr.
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                                                                                   12    Certainly such bills, receipts, or checks would not be privileged.
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                                                                                   13          C.     Area 15 LV Issues Non-Party Subpoenas, Including the Subpoenas
                                                                                                      to the Jaramillos
                                                                                   14
                                                                                   15          Given that Jaramillo Jr. continues to stonewall discovery in the Underlying
                                                                                   16    Litigation, Area 15 LV was forced to issue several non-party subpoenas under
                                                                                   17    FRCP 45 to obtain discovery relevant to its defenses and Jaramillo Jr.’s claims,22
                                                                                   18    including his communications and documents exchanged with his parents.23
                                                                                   19          Area 15 LV initially served subpoenas (“Initial Subpoenas”) on the
                                                                                   20    Jaramillos on December 15, 2022.24 Because the Jaramillos have a home in Las
                                                                                   21    Vegas, Area 15 LV identified the place of compliance for the Initial Subpoenas to
                                                                                   22    be in Las Vegas.25 However, with the understanding that the Jaramillos primarily
                                                                                   23
                                                                                         21
                                                                                   24        Ex. 5, Jaramillo Jr. Dep., at 191:11-198:11; 261:9–263:24; see also Ex. 3,
                                                                                         Nevada Mot. to Compel, at 83; see also Ex. 6, Meet and Confer Letter, at 433; Ex.
                                                                                   25    8, Email Chain, at 448, 452, 455 (discussing Requests No. 126).
                                                                                         22
                                                                                            For example, because Jaramillo Jr. refused to provide his medical records that
                                                                                   26    support his allegations of heart complications as a result of the alleged wrongful
                                                                                         conduct, Area 15 LV subpoenaed his medical providers. Ex. 1, Chance Decl., ¶ 16.
                                                                                   27    23
                                                                                            Id., ¶ 17; see generally Ex. 3, Nevada Mot. to Compel.
                                                                                         24
                                                                                            Ex. 1, Chance Decl., ¶ 17.
                                                                                   28    25
                                                                                            Id. ¶ 18.
                                                                                                                                    7                         CASE NO. 8:23:mc-0004
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                                                                                        TECUM IN A CIVIL CASE TO GEORGE JARAMILLO, I AND TO LISA JARAMILLO etc.
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                                                                                    1    live in California, Area 15 LV re-issued Amended Subpoenas (the ones it now
                                                                                    2    seeks to enforce) to ensure that the place of compliance was within 100-miles from
                                                                                    3    their home.26
                                                                                    4          Mr. Jaramillo was served on December 22, 2022.27 Several attempts were
                                                                                    5    made to serve Mrs. Jaramillo—including attempts where persons were home but
                                                                                    6    refused to answer the door.28 She was ultimately served at her place of employment,
                                                                                    7    Attorney Brown’s office, on January 9, 2023. 29 Notice of the Subpoenas was
                                                                                    8    provided to Attorney Brown on December 19, 2022, prior to the Subpoenas being
                                                                                    9    issued.30
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                                                                                   10          The Subpoenas set forth eight requests that seek documents and materials
                                                                                   11    from January 1, 2018, to the present relating to the below categories of information
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                                                                                   12    relevant to the Underlying Litigation:31
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                                                                                   13          (1) Jaramillo, Jr.’s employment or purported employment with Area 15
                                                                                               LV or its co-defendants in the Underlying Action;
                                                                                   14          (2) Jaramillo, Jr.’s allegations of racial discrimination that he allegedly
                                                                                               witnessed, experienced, observed, or otherwise knew about while he
                                                                                   15          was employed with Area 15 LV as described in his Amended
                                                                                   16          Complaint in the Underlying Action;
                                                                                               (3) Jaramillo, Jr.’s allegations of discrimination based on sexual
                                                                                   17          orientation that he allegedly witnessed, experienced, observed, or
                                                                                               otherwise knew about while he was employed with Area 15 LV as
                                                                                   18          described his Amended Complaint in the Underlying Action;
                                                                                   19          (4) Jaramillo, Jr.’s allegations of a hostile work environment at Area
                                                                                               15 LV in the Underlying Action;
                                                                                   20          (5) Jaramillo, Jr.’s alleged composition notebook that he purportedly
                                                                                               maintained during his employment with Area 15 LV, in which he
                                                                                   21
                                                                                   22    26
                                                                                            Ex. 1, Chance Decl., ¶ 18; see also Subpoena to Produce Documents served on
                                                                                   23    George Jaramillo, I (“Subpoena to Mr. Jaramillo”), dated Dec. 19, 2022, attached as
                                                                                         Exhibit 11; see also Subpoena to Produce Documents served on Lisa Jaramillo
                                                                                   24    (“Subpoena to Mrs. Jaramillo”), dated Dec. 19, 2022, attached as Exhibit 12; see
                                                                                         also, e.g., Ex. 4, Jaramillo Jr.’s Discovery Responses, at Request Nos. 126 and 127.
                                                                                         27
                                                                                   25       Ex. 11, Subpoena to Mr. Jaramillo, at 539.
                                                                                         28
                                                                                            Ex. 12, Subpoena to Mrs. Jaramillo, at 610.
                                                                                         29
                                                                                   26       Id. at 608.
                                                                                         30
                                                                                             Am. Notice of Subpoenas Duces Tecum to Lisa Jaramillo and to George
                                                                                   27    Jaramillo, I, Dec. 19, 2022, attached as Exhibit 13.
                                                                                         31
                                                                                             Ex. 11, Subpoena to Mr. Jaramillo, at 478-484; Ex. 12, Subpoena to Mrs.
                                                                                   28    Jaramillo, at 548-554.
                                                                                                                                     8                       CASE NO. 8:23:mc-0004
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                                                                                        TECUM IN A CIVIL CASE TO GEORGE JARAMILLO, I AND TO LISA JARAMILLO etc.
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                                                                                    1          allegedly documented instances of mistreatment based on his race or
                                                                                               sexual orientation;
                                                                                    2          (6) Jaramillo Jr.’s allegations of emotional and physical health
                                                                                    3          conditions;
                                                                                               (7) Jaramillo Jr.’s intent to file a lawsuit against Area 15 LV or its co-
                                                                                    4          defendants in the Underlying Litigation or suggestions by the
                                                                                               Jaramillos that he do so; and,
                                                                                    5          (8) The Jaramillos’ communications with other persons concerning the
                                                                                               allegations in Jaramillo Jr.’s Amended Complaint.
                                                                                    6
                                                                                    7
                                                                                               Importantly, in relation to the above topics, Jaramillo Jr. testified to keeping
                                                                                    8
                                                                                         contemporaneous notes during his employment with Area 15 LV, which he
                                                                                    9
                                                                                         maintained in two ways. First, he took notes in a “notebook” that he kept in his
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                                                                                   10
                                                                                         office. 32 He also maintained notes on his personal computer, “typ[ing] them
                                                                                   11
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                                                                                         individually as interactions with the person or group that [the note] related to, and
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                                                                                   12
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                                                                                         then with the date and time of the interaction and [his] recollection of what
                                                                                   13
                                                                                         happened.”33 The latter, he sent via email to himself, saved in his email account as
                                                                                   14
                                                                                         a draft, or shared with his parents by email before he ever contemplated litigation.34
                                                                                   15
                                                                                               The Subpoenas also request documents from a wider date range, including:
                                                                                   16
                                                                                   17          (1) Documents and communications concerning the ownership or the
                                                                                               rental agreements of the home(s) or properties that Jaramillo Jr.
                                                                                   18          purports to rent from his parents;
                                                                                   19          (2) Documents and communications concerning Jaramillo Jr.’s
                                                                                               inability to pay rent or other obligations;
                                                                                   20          (3) Documents and communications concerning the Jaramillos
                                                                                   21          providing financial support, in different manners, to Jaramillo Jr.; and,
                                                                                               (4) The original and copies of a recording Jaramillo alleges to have
                                                                                   22          made when having a conversation with a non-party about his
                                                                                   23
                                                                                   24
                                                                                         32
                                                                                             Ex. 5, Jaramillo Jr. Dep., at 191:11-192:20; 261:6-263:24. Jaramillo Jr. claims
                                                                                   25    that he left the notebook in his office and that it was not returned to him with his
                                                                                         other belongings after his termination. Area 15 LV disputes this claim. Further, the
                                                                                   26    claim contradicts Jaramillo Jr.’s testimony, in which he acknowledges that he
                                                                                         worked remotely during the pandemic and used his notebook at his home office. Id.
                                                                                   27    at 191:11-192:6.
                                                                                         33
                                                                                            Id. at 192:1-20.
                                                                                   28    34
                                                                                            Id. at 191:11-198:11; 261:9–263:24.
                                                                                                                                    9                        CASE NO. 8:23:mc-0004
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                                                                                    1          termination from Area 15 LV.35
                                                                                    2          The Subpoenas also seek documents and communications exchanged
                                                                                    3    between the Jaramillos and Attorney Brown during distinct time periods,36 which
                                                                                    4    periods were designed to separate materials generated before and after the date
                                                                                    5    Jaramillo Jr. purportedly retained Attorney Brown in the Underlying Litigation.37
                                                                                    6    Area 15 LV designed its requests in this manner with the privilege issue in mind.38
                                                                                    7    A claim of privilege cannot be asserted over the earlier distinct time period given
                                                                                    8    that litigation was not even being contemplated, thereby limiting any claims of
                                                                                    9    privilege—if raised by Jaramillo Jr.—to the requests falling within the later distinct
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                                                                                   10    time period. In other words, if Jaramillo Jr. moved for a protective order, he could
                                                                                   11    only assert his theory of privileges to the requests falling within the later distinct
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                                                                                   12    time period.
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                                                                                   13          Lastly, the Subpoenas also asked the Jaramillos to provide documents
                                                                                   14    sufficient to demonstrate the Jaramillos’ employment relationships and roles with
                                                                                   15    Attorney Brown.39
                                                                                   16          The Jaramillos were obligated to comply with the Subpoenas in one of two
                                                                                   17    ways: (1) by producing documents via email no later than January 9, 202340; or
                                                                                   18    (2) appearing in person at the undersigned’s offices at 2049 Century Park East, Ste.
                                                                                   19
                                                                                   20
                                                                                         35
                                                                                   21        Ex. 11, Subpoena to Mr. Jaramillo, at 478-484; Ex. 12, Subpoena to Mrs.
                                                                                         Jaramillo, at 554-548.
                                                                                         36
                                                                                   22       Ex. 11, Subpoena to Mr. Jaramillo, at 483; Ex. 12, Subpoena to Mrs. Jaramillo,
                                                                                         at 553.
                                                                                         37
                                                                                   23       Ex. 1, Chance Decl., ¶ 19.
                                                                                         38
                                                                                            Id.
                                                                                   24    39
                                                                                            Ex. 11, Subpoena to Mr. Jaramillo, at 484; Ex. 12, Subpoena to Mrs. Jaramillo,
                                                                                         at 554.
                                                                                   25    40
                                                                                            Area 15 LV acknowledges that Mrs. Jaramillo was not served with the Subpoena
                                                                                         until January 9, 2023. See Ex. 12. However, this was a result of Mrs. Jaramillo
                                                                                   26    evading service. See id. (detailing service attempts). Further, Mrs. Jaramillo was
                                                                                         indisputably aware that Area 15 LV was seeking documents from her given that she
                                                                                   27    was served with the Initial Subpoena on December 15, 2022. See Ex. 1, Chance
                                                                                         Decl., ¶ 17. Further, she never contacted counsel for Area 15 LV to request
                                                                                   28    additional time to respond to the Subpoena. Id. ¶¶ 21, 24.
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                                                                                    1    3550, Los Angeles, California 90067, on January 19, 2023.41 That office is within
                                                                                    2    100 miles of the Jaramillos’ California residence and their place of employment.42
                                                                                    3    The Jaramillos failed to comply with either option and have not produced
                                                                                    4    documents to Area 15 LV to date.43
                                                                                    5          D.     Jaramillo Jr. Opposed Only the Initial Subpoenas
                                                                                    6          In the Underlying Litigation, Jaramillo Jr. made a half-hearted attempt to
                                                                                    7    quash the Initial Subpoenas—not the Subpoenas at issue in this Motion.44 He
                                                                                    8    argued that the place of compliance was outside of the 100-mile limitation imposed
                                                                                    9    by FRCP 45 and burdensome to the Jaramillos.45 But Jaramillo Jr. failed to disclose
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                                                                                   10    that his parents own a home in Las Vegas, Nevada according to his own
                                                                                   11    testimony. 46 Per that testimony, Area 15 LV issued the Initial Subpoenas for
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                                                                                   12    compliance in Nevada. 47 Regardless, the Subpoenas, as amended, call for
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                                                                                   13    compliance within 100 miles of the Jaramillos’ California home.48
                                                                                   14          Jaramillo Jr. next argued that the corresponding affidavits of service were not
                                                                                   15    completed.49 He was mistaken. Both the Initial Subpoenas and the Subpoenas at
                                                                                   16    issue in this Motion have accompanying affidavits of service that are fully executed
                                                                                   17    by the process server.50
                                                                                   18          Finally, Jaramillo Jr. argued the Subpoenas sought privileged information.51
                                                                                   19    41
                                                                                            Ex. 11, Subpoena to Mr. Jaramillo, at 471; Ex. 12, Subpoena to Mrs. Jaramillo,
                                                                                   20    at 541.
                                                                                         42
                                                                                             Ex. 1, Chance Decl., ¶ 18; see also Ex. 11, Subpoena to Mr. Jaramillo, at 471;
                                                                                   21    Ex. 12, Subpoena to Mrs. Jaramillo, at 541.
                                                                                         43
                                                                                            Ex. 1, Chance Decl., ¶¶ 21, 24.
                                                                                   22    44
                                                                                             Underlying Litigation at George Jaramillo Jr.’s Mot. to Quash Subpoenas to
                                                                                         Produce Docs [and] Decl. of Edwin Brown (hereinafter, “Mot. to Quash”), ECF No.
                                                                                   23    91 (Jan. 18, 2023), attached as Exhibit 14.
                                                                                         45
                                                                                   24       Id. at 756.
                                                                                         46
                                                                                            Ex. 5, Jaramillo Jr. Dep., at 25:1-26:6.
                                                                                         47
                                                                                   25       Ex. 1, Chance Decl., ¶ 17.
                                                                                         48
                                                                                             Id. ¶ 18. Ex. 11, Subpoena to Mr. Jaramillo, at 471; Ex. 12, Subpoena to Mrs.
                                                                                   26    Jaramillo, at 541.
                                                                                         49
                                                                                            Ex. 14, Mot. to Quash, at 756.
                                                                                         50
                                                                                   27        Ex. 1, Chance Decl., ¶ 17.; Ex. 11, Subpoena to Mr. Jaramillo, at 539; Ex. 12,
                                                                                         Subpoena to Mrs. Jaramillo, at 610.
                                                                                   28    51
                                                                                            Ex. 14, Mot. to Quash, at 756-757.
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                                                                                    1    Notably, Attorney Brown attested that he has employed the Jaramillos for six years,
                                                                                    2    Mrs. Jaramillo “as a legal assistant” and Mr. Jaramillo “as [an] Executive Director”
                                                                                    3    responsible for “interviewing potential new clients for the firm, assisting in the
                                                                                    4    collection of attorney’s fees owed the firm, and preparation of status reports for
                                                                                    5    attorneys to review.”52 Based on these positions, the Jaramillos have not acted as
                                                                                    6    counsel in the Underlying Litigation, and they cannot render legal advice or assist
                                                                                    7    in rendering that advice. Mrs. Jaramillo is not an attorney and Mr. Jaramillo was
                                                                                    8    disbarred from practicing in California in 2008.
                                                                                    9            While the parties to the Underlying Litigation have repeatedly met and
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                                                                                   10    conferred on the issue of privilege, they had not met and conferred on the purported
                                                                                   11    procedural defects in the Initial Subpoenas. 53 The Nevada District Court denied
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                                                                                   12    Jaramillo Jr.’s motion on that basis.54
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                                                                                   13            E.    Neither the Jaramillos nor Jaramillo Jr. Have Opposed the At-
                                                                                                       Issue Subpoenas Despite Having Notice or Personal Service
                                                                                   14
                                                                                   15            The Jaramillos have not objected to or complied with the Subpoenas.55 In
                                                                                   16    fact, they have not attempted to contact Area 15 LV’s counsel at all.56 They have
                                                                                   17    failed to do so despite that the Subpoenas, in their amended form, were noticed on
                                                                                   18    Jaramillo Jr. and Attorney Brown.57
                                                                                   19            Further, during a meet-and-confer for the Nevada Motion to Compel, counsel
                                                                                   20    for Area 15 LV explicitly reminded Attorney Brown that Area 15 LV revised the
                                                                                   21    Initial Subpoenas to correct the 100-mile compliance issue and reissued the
                                                                                   22    Subpoenas to the Jaramillos.58 Indeed, counsel reforwarded the Subpoenas and the
                                                                                   23
                                                                                   24
                                                                                         52
                                                                                   25         Id. at 754 ¶ 3.
                                                                                         53
                                                                                              Ex. 1, Chance Decl., ¶ 22.
                                                                                         54
                                                                                   26         Id.
                                                                                         55
                                                                                              Id. ¶¶ 21, 24.
                                                                                         56
                                                                                   27         Id. ¶¶ 20; see also Ex. 13.
                                                                                         57
                                                                                              Second Email Chain, attached as Exhibit 15.
                                                                                   28    58
                                                                                              Ex. 1, Chance Decl., ¶ 23; Ex. 15, Second Email Chain, at 898.
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                                                                                    1    Notice thereof to Attorney Brown.59 Despite this discussion, Attorney Brown never
                                                                                    2    followed up with counsel for Area 15 LV.60 That said, he has confirmed that he
                                                                                    3    does not represent the Jaramillos with regard to the Subpoenas.61
                                                                                    4           Given that the at-issue Subpoenas require compliance within 100-miles of the
                                                                                    5    Jaramillos’ California residence and have completed affidavits of service, Area 15
                                                                                    6    LV now files this Motion against the Jaramillos. The Jaramillos never objected to
                                                                                    7    the Subpoenas on the basis of privilege, nor did Jaramillo Jr.; he opposed only the
                                                                                    8    Initial Subpoenas. 62 And to the extent this Court may construe Jaramillo Jr.’s
                                                                                    9    objections based on attorney-client and work-product privileges as applicable to the
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                                                                                   10    Subpoenas at issue now (even though he has never timely served any such
                                                                                   11    objections), that issue has been exhaustively discussed by counsel in multiple meet-
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                                                                                   12    and-confer efforts between the parties in the Underlying Litigation.63 Those meet-
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                                                                                   13    and-confer efforts were a prerequisite for Area 15 LV’s filing of the Nevada Motion
                                                                                   14    to Compel, so good cause exists to excuse the parties from conferring further on the
                                                                                   15    same topic. Further, because that dispute remains live and pending for adjudication
                                                                                   16    in the Nevada Motion to Compel, Area 15 LV moves to transfer this Motion to
                                                                                   17    Nevada.
                                                                                   18    III.   ARGUMENT
                                                                                   19           Area 15 LV first addresses the facts demonstrating good cause to excuse any
                                                                                   20    further meet and confer efforts with Jaramillo Jr. regarding the privilege dispute to
                                                                                   21    the extent any such requirement exists. Area 15 LV then turns to its request that the
                                                                                   22    Motion be transferred, and finally the merits of the Motion.
                                                                                   23
                                                                                   24
                                                                                   25    59
                                                                                            Ex. 1, Chance Decl., ¶ 23; Ex. 15, Second Email Chain, at 897-898.
                                                                                         60
                                                                                   26       Ex. 1, Chance Decl., ¶ 24.
                                                                                         61
                                                                                            Ex. 1, Chance Decl., ¶ 23; Ex. 15, see also Second Email Chain, at 898.
                                                                                         62
                                                                                   27       Ex. 1, Chance Decl., ¶¶ 21-22, 24; compare Ex. 14, Mot. to Quash, with Ex. 11,
                                                                                         Subpoena to Mr. Jaramillo, and Ex. 12, Subpoena to Mrs. Jaramillo.
                                                                                   28    63
                                                                                            Ex. 1, Chance Decl., ¶¶ 10-14.
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                                                                                    1          A.     Good Cause Exists To Excuse Area 15 LV From Any Further
                                                                                                      Meet and Confer with Jaramillo Jr.
                                                                                    2
                                                                                    3          As a preliminary matter, L.R. 45-1 requires motions relating to discovery
                                                                                    4    subpoenas to comply with L.R. 37 if the motions were served on (a) parties and
                                                                                    5    (b) non-parties represented by counsel. In turn, L.R. 37 requires counsel to, among
                                                                                    6    other things, meet and confer on the disputed issues and file a written stipulation
                                                                                    7    setting forth the outstanding issues. However, the requirements of L.R. 37 may be
                                                                                    8    excused by the Court upon a showing of good cause. L.R. 37-1, 37-2.
                                                                                    9          Because the Jaramillos are unrepresented non-parties, the conferral
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                                                                                   10    requirements of L.R. 45-1 do not apply to them. The requirements should not apply
                                                                                   11    to Jaramillo Jr. either. Jaramillo Jr. received notice of the amended Subpoenas, yet
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                                                                                   12    he never objected or moved to quash the amended Subpoenas. Nor has Jaramillo Jr.
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                                                                                   13    contacted Area 15 LV to discuss the Subpoenas as amended even after Area 15 LV
                                                                                   14    explicitly reminded him of the Subpoenas during a meet-and-confer discussion.
                                                                                   15          But to the extent the requirements of L.R. 37 apply vis a vis Jaramillo Jr.,
                                                                                   16    good cause exists to excuse Area 15 LV from them with regard to this Motion.
                                                                                   17    When Jaramillo Jr. moved to quash the Initial Subpoenas, he did so on three bases.
                                                                                   18    Two of the bases are resolved: the Subpoenas now require compliance within 100-
                                                                                   19    miles of the Jaramillos’ California home and the Affidavits of Service are fully
                                                                                   20    completed. Area 15 LV and Jaramillo Jr. have exhausted the meet-and-confer
                                                                                   21    requirement in the Underlying Litigation as to the third bases: the application of any
                                                                                   22    purported privileges. The parties have met-and-conferred repeatedly since
                                                                                   23    November 3, 2022, to resolve the dispute over Jaramillo Jr.’s blanket assertions of
                                                                                   24    privilege over the documents and communications exchanged with his parents. That
                                                                                   25    privilege dispute is live and pending in the Area 15 LV’s Nevada Motion to
                                                                                   26    Compel. Because this is the only other basis on which a version of the Subpoenas—
                                                                                   27    not even the Subpoenas as issued—were challenged by anyone, good cause exists
                                                                                   28    to excuse the meet-and-confer requirement to the extent it is required between Area
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                                                                                    1    15 LV and Jaramillo Jr. for the purposes of this Motion.
                                                                                    2          B.     This Court Should Transfer This Motion To The District Of
                                                                                                      Nevada.
                                                                                    3
                                                                                    4          A party may seek to transfer a motion made under Rule 45 from the court
                                                                                    5    where compliance is required to the court where the matter is pending. Fed. R. Civ.
                                                                                    6    P. 45(f); see also Music Group Macao Com. Offshore Ltd. v. Does, 2015 WL
                                                                                    7    930249, *3 (N.D. Cal. Mar. 2, 2015). Whether to do so is within the discretion of
                                                                                    8    this Court. See Moon Mountain Farms, LLC v. Rural Cmty. Ins. Co., 301 F.R.D.
                                                                                    9    426, 429 (N.D. Cal. 2014).
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                                                                                   10          The party seeking transfer must show that exceptional circumstances justify
                                                                                   11    the transfer. Id. “While a prime concern is to avoid burdens on local nonparties
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                                                                                   12    subject to subpoenas, this interest of the nonparty in obtaining local resolution of
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                                                                                   13    the motion, must be balanced with the interests in ensuring the efficient, fair and
                                                                                   14    orderly progress of ongoing litigation before the issuing court.” Jud. Watch, Inc. v.
                                                                                   15    Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C.2014) (internal alterations and
                                                                                   16    quotations omitted). Courts routinely find exceptional circumstances where a
                                                                                   17    transfer to the district where the action is pending would “avoid[] the potential for
                                                                                   18    inconsistent rulings[.]” Helping Hand Caregivers Ltd. v. Darden Corp., No. MC-
                                                                                   19    1600011-BRO-RAO, 2016 WL 10987313, at *2 (C.D. Cal. Feb. 17, 2016) (citing
                                                                                   20    Argento v. Sylvania Lighting Servs. Corp., No. 15-CV-1277-JAD, 2015 WL
                                                                                   21    4918065, at *7 (D. Nev. Aug. 18, 2015) and Wultz v. Bank of China, Ltd., 304
                                                                                   22    F.R.D. 38, 46 (D.D.C. 2014)).
                                                                                   23          Exceptional circumstances exist here justifying the transfer of this Motion to
                                                                                   24    the District of Nevada, and there is little burden on the Jaramillos in doing so. The
                                                                                   25    Motion should be transferred to the Nevada District Court for at least three reasons.
                                                                                   26    First, and most importantly, the issue of whether the documents and
                                                                                   27    communications sought by the Subpoenas are privileged is set to be decided by the
                                                                                   28    Nevada District Court via the Nevada Motion to Compel. For this Court to
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                                                                                    1    adjudicate the Motion, the Court would need to make a finding on the very same
                                                                                    2    issue. Transfer of the Motion is therefore justified by exceptional circumstances: to
                                                                                    3    avoid the potential for inconsistent rulings on the issue of whether privilege applies
                                                                                    4    to documents and communications exchanged between Jaramillo Jr. and the
                                                                                    5    Jaramillos and, if so, beginning on what date and to what extent. This Court should
                                                                                    6    therefore grant the request that the Motion be transferred to allow for it to be
                                                                                    7    decided by the District of Nevada. See Helping Hand Caregivers Ltd., 2016 WL
                                                                                    8    10987313, at *2.
                                                                                    9          Second, the Jaramillos have exceptionally close ties to the Underlying
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                                                                                   10    Litigation and to Nevada. The plaintiff in the Underlying Litigation is Jaramillo Jr.,
                                                                                   11    their son. Further, the Jaramillos own a home in Las Vegas, Nevada as testified by
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                                                                                   12    Jaramillo Jr.
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                                                                                   13          Further, and perhaps most importantly, it has become regular practice for the
                                                                                   14    magistrate judges in the District of Nevada to hold hearings by Zoom. The
                                                                                   15    magistrate judge presiding over the Underlying Action employs this practice, and
                                                                                   16    thus the Jaramillos would not be inconvenienced to appear before the court in
                                                                                   17    Nevada. Accordingly, the balancing of the Jaramillos’ interests in a local resolution
                                                                                   18    is therefore outweighed by the interests of ensuring efficient, fair, and orderly
                                                                                   19    progress of the litigation in Nevada. See Judicial Watch, Inc., 307 F.R.D. at 34..
                                                                                   20          C.        The Motion Should Be Granted Because the Time for the
                                                                                                         Jaramillos to Comply or Object Has Passed, the Subpoenas are
                                                                                   21                    Valid, and the Information Sought Is Not Privileged
                                                                                   22          Area 15 LV next turns to its request that the Subpoenas be enforced.
                                                                                   23                    1.   FRCP 45 Legal Standard
                                                                                   24           “Parties may obtain discovery regarding any nonprivileged matter that is
                                                                                   25    relevant to any party’s claim or defense and proportional to the needs of the
                                                                                   26    case….” Fed. R. Civ. P. 26 (b)(1). Information may be discoverable regardless of
                                                                                   27    its admissibility. Id. And a party may seek the information from parties to the case
                                                                                   28    as well as non-parties. See Fed. R. Civ. P. 34(c); Fed. R. Civ. P. 45; see also Fed. R.
                                                                                                                                   16                        CASE NO. 8:23:mc-0004
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                                                                                    1    Civ. P. 37.
                                                                                    2          Specifically, FRCP 45 permits a party to subpoena a non-party for the
                                                                                    3    production of documents and for a deposition. Fed. R. Civ. P. 45(a)(1)(B)-(D).
                                                                                    4    Typically, a subpoena may command a person to comply with its demands only at a
                                                                                    5    location within 100 miles of where the person resides, is employed, or regularly
                                                                                    6    transacts business in person. Fed. R. Civ. P. 45(c)(1). To serve the subpoena, a copy
                                                                                    7    must be delivered “to the named person[.]” Fed. R. Civ. P. 45(b)(1).
                                                                                    8          A person subject to a subpoena must respond to the subpoena in one of two
                                                                                    9    ways. They can either comply with the subpoena, or they can submit objections to
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                                                                                   10    the serving party within 14 days of the subpoena being served and then move to
                                                                                   11    quash. Fed. R. Civ. P. 45(e); id. 45(d)(2)(B)-(3).
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                                                                                   12          Where objections have been made, “a party may move the court for the
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                                                                                   13    district where compliance is required for an order compelling production or
                                                                                   14    inspection.” Fed. R. Civ. P. 45(d)(2)(i); see also Fed. R. Civ. P. 37(a)(2) (“A
                                                                                   15    motion for an order to a nonparty must be made in the court where the discovery is
                                                                                   16    or will be taken.”). But objections are not necessary to enforce a subpoena; a
                                                                                   17    “[c]ourt may also grant a motion to compel compliance with a Rule 45 subpoena []
                                                                                   18    where the nonparty has not formally objected but has instead failed to respond.” In
                                                                                   19    re Subpoena to VaughnPerling, Case No. 2:19-mc-00083-CAS(Ex), 2019 WL
                                                                                   20    8012372 (C.D. Cal. 2021) (citing Miranda v. Hokinson, No. 2:07-cv-0609-JHN-
                                                                                   21    RC, 2008 WL 11337227, at *2 (C.D. Cal. Dec. 12, 2008)). A nonparty’s failure to
                                                                                   22    timely make objections to a Rule 45 subpoena duces tecum generally requires the
                                                                                   23    court to find that any objections have been waived. In re DG Acquisition Corp., 151
                                                                                   24    F.3d at 81; Schwarzer, Tashima & Wagstaffe, Schwarzer, Tashima & Wagstaffe,
                                                                                   25    CAL. PRAC. GUIDE: FED. CIV. PROC. BEFORE TRIAL, § 11:2293 (2005 rev.).
                                                                                   26          Further, a motion to quash a subpoena under FRCP 45(d)(3) must be timely
                                                                                   27    filed. Such motions are not timely where the compliance date for the subpoena has
                                                                                   28    expired. Dryden v. Nevada, No. 2:16-CV-01227-JAD-EJY, 2021 WL 9217680, at
                                                                                                                                   17                        CASE NO. 8:23:mc-0004
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                                                                                    1    *1 (D. Nev. Dec. 28, 2021); see also § 2459 Subpoena for the Production of
                                                                                    2    Documents and Things—Quashing or Modifying a Subpoena, 9A FED. PRAC. &
                                                                                    3    PROC. CIV. § 2459 (3d ed.) (stating a motion to quash or modify a subpoena must
                                                                                    4    be “made promptly, and in any event at or before the time specified in the subpoena
                                                                                    5    for compliance” and collecting cases applying this standard).
                                                                                    6                 2.     The Jaramillos failed to timely object to or comply with the
                                                                                                             Subpoenas
                                                                                    7
                                                                                    8          The Subpoenas were served on Mr. Jaramillo and Mrs. Jaramillo on
                                                                                    9    December 22, 2022 and January 9, 2023, respectively. Mrs. Jaramillo was served at
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                                                                                   10    her workplace (Attorney Brown’s office) after multiple attempts to deliver the
                                                                                   11    subpoena to her apparently occupied California residence went unanswered. Both
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                                                                                   12    Subpoenas required compliance by no later than January 19, 2023, and allowed for
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                                                                                   13    a production of documents in lieu of personal appearance on January 9, 2023.
                                                                                   14          Based on the dates of service and the dates of compliance, the Jaramillos
                                                                                   15    were required to object to the Subpoenas or move to quash the Subpoenas by no
                                                                                   16    later than January 19, 2023. See Dryden, 2021 WL 9217680, at *1. Even allowing
                                                                                   17    the Jaramillos 14 days from the date of service, Mr. Jaramillo’s objections or Rule
                                                                                   18    45 motions were due by January 5, 2023, and Mrs. Jaramillo’s objections or Rule
                                                                                   19    45 motions were due by January 23, 2023. Each of these deadlines have passed. But
                                                                                   20    the Jaramillos have neither objected to the Subpoenas nor filed Rule 45 motions.
                                                                                   21          To be clear, no one has challenged the Subpoenas. While Jaramillo Jr. filed a
                                                                                   22    motion to quash in the Nevada District Court, that motion related only to the Initial
                                                                                   23    Subpoenas. Jaramillo never challenged the Subpoenas at issue in this Motion—
                                                                                   24    even after Area 15 LV explicitly brought the Subpoenas to Attorney Brown’s
                                                                                   25    attention. Further, the motion to quash has been denied.
                                                                                   26          Because the Jaramillos failed to timely object to the Subpoenas or file Rule
                                                                                   27    45 motions, they have waived any such challenges now. See In re DG Acquisition
                                                                                   28    Corp., 151 F.3d at 81. And to the extent they seek to assert the privilege dispute
                                                                                                                                   18                        CASE NO. 8:23:mc-0004
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                                                                                    1    between Area 15 LV and Jaramillo Jr. as a basis for defying the Subpoena, they
                                                                                    2    lack standing to do so. Exobox Tech. Corp. v. Tsambis, No. 2014 WL 4987903
                                                                                    3    (“[A] third party … cannot assert the attorney-client privilege to avoid disclosure”
                                                                                    4    because the right to do so “belongs to the attorney’s client” only) (citing Chirac v.
                                                                                    5    Reinicker, 24 U.S. 280 (1826) and United States v. Fortna, 796 F.2d 724, 732 (5th
                                                                                    6    Cir. 1986) (stating that the attorney-client privilege cannot be asserted vicariously)).
                                                                                    7    The Court should require the Jaramillos to comply with the Subpoenas as issued.
                                                                                    8                 3.     The Subpoenas are valid
                                                                                    9          In addition to the lack of any objection or Rule 45 motion by the Jaramillos,
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                                                                                   10    the Subpoenas must be enforced because they are valid. While Jaramillo Jr.
                                                                                   11    previously challenged the Initial Subpoenas for requiring compliance at a location
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                                                                                   12    beyond 100-miles from the Jaramillos’ residence and for lacking completed
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                                                                                   13    affidavits of service, those alleged defects are not present in the Subpoenas at issue
                                                                                   14    in this Motion. The Subpoenas require compliance at a law office approximately 70
                                                                                   15    miles from the Jaramillos’ home or place of employment. The place of compliance
                                                                                   16    therefore falls within the limitations set by FRCP 45(c)(1).
                                                                                   17          Additionally, the Subpoenas were personally served on the Jaramillos in
                                                                                   18    compliance with FRCP 45(b)(1). The completed affidavits of service attest to the
                                                                                   19    same, indicating the dates that service was attempted and eventually completed.
                                                                                   20    Area 15 LV also noticed the parties in the Underlying Litigation of the Subpoenas
                                                                                   21    prior to their issuance. Accordingly, the Subpoenas are procedurally proper.
                                                                                   22                 4.     The information sought via the Subpoenas is not privileged
                                                                                   23          The Subpoenas are also valid because they seek relevant, nonprivileged
                                                                                   24    information. “‘The attorney-client privilege protects confidential disclosures made
                                                                                   25    by a client to an attorney in order to obtain legal advice ... as well as an attorney’s
                                                                                   26    advice in response to such disclosures.’” United States v. Ruehle, 583 F.3d 600, 607
                                                                                   27    (9th Cir. 2009) (citation omitted). Courts generally consider “an eight-part test [to]
                                                                                   28    determine whether information is covered by the attorney-client privilege”:
                                                                                                                                   19                        CASE NO. 8:23:mc-0004
                                                                                        NOTICE OF MOTION AND MOTION (1) TO ENFORCE SUBPOENAS DUCES
                                                                                        TECUM IN A CIVIL CASE TO GEORGE JARAMILLO, I AND TO LISA JARAMILLO etc.
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                                                                                    1                 (1) Where legal advice of any kind is sought (2) from a
                                                                                                      professional legal adviser in his capacity as such, (3) the
                                                                                    2                 communications relating to that purpose, (4) made in
                                                                                                      confidence (5) by the client, (6) are at his instance
                                                                                    3                 permanently protected (7) from disclosure by himself or
                                                                                                      by the legal adviser, (8) unless the protection be waived.
                                                                                    4
                                                                                    5    Id. (quotation marks and citation omitted). However, as recently clarified by the
                                                                                    6    Ninth Circuit, the attorney-client privilege only applies where “the primary purpose
                                                                                    7    of the communication is to give or receive legal advice[.]” In re Grand Jury, 23
                                                                                    8    F.4th 1088, 1092 (9th Cir. 2021), cert. granted sub nom. In re Jury, 143 S. Ct. 80
                                                                                    9    (2022), and cert. dismissed as improvidently granted, No. 21-1397, 2023 WL
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                                                                                   10    349990 (U.S. Jan. 23, 2023).
                                                                                   11          “The work-product rule is not a privilege but an immunity protecting, from
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                                                                                   12    discovery, documents and tangible things prepared by a party or its representative
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                                                                                   13    in anticipation of litigation.” Diamond State Ins. Co. v. Rebel Oil Co., 157 F.R.D.
                                                                                   14    691, 698 (D. Nev. 1994). But the work-product doctrine is not absolute, and it does
                                                                                   15    not protect underlying facts from disclosure. See Hickman v. Taylor, 329 U.S. 495,
                                                                                   16    507 (1947). And to apply, the materials are protected only “when it can fairly be
                                                                                   17    said that the document was created because of anticipated litigation, and would not
                                                                                   18    have been created in substantially similar form but for the prospect of that
                                                                                   19    litigation.” In re Grand Jury, 23 F.4th at 1092.
                                                                                   20          A party may withhold documents based on attorney-client or work-product
                                                                                   21    privilege if they “expressly make the claim” and “describe the nature of the
                                                                                   22    documents, communications, or tangible things not produced or disclosed--and do
                                                                                   23    so in a manner that, without revealing information itself privileged or protected,
                                                                                   24    will enable other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5)(A); Diamond
                                                                                   25    State Ins. Co., 157 F.R.D. at 698 (providing that a privilege log “identifies (a) the
                                                                                   26    attorney and client involved, (b) the nature of the document, (c) all persons or
                                                                                   27    entities shown on the document to have received or sent the document, (d) all
                                                                                   28    persons or entities known to have been furnished the documents or informed of its
                                                                                                                                   20                        CASE NO. 8:23:mc-0004
                                                                                        NOTICE OF MOTION AND MOTION (1) TO ENFORCE SUBPOENAS DUCES
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                                                                                    1    substance, and (e) the date the document was generated, prepared, or dated”). The
                                                                                    2    Ninth Circuit has confirmed that “boilerplate objections or blanket refusals inserted
                                                                                    3    into a response to a Rule 34 request for production of documents are insufficient to
                                                                                    4    assert a privilege.” Burlington N. & Santa Fe Ry. Co. v. U.S. Dist. Ct. for Dist. of
                                                                                    5    Mont., 408 F.3d 1142, 1147-49 (9th Cir. 2005). The party claiming privilege “has
                                                                                    6    the burden of establishing all the essential elements.” United States v. Adlman, 68
                                                                                    7    F.3d 1495, 1500 (2d Cir. 1995).
                                                                                    8            While it is anticipated that the Jaramillos will oppose this Motion by
                                                                                    9    asserting the documents sought fall under the attorney-client or work-product
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                                                                                   10    privilege, they do not have standing to assert the privilege on behalf of Jaramillo
                                                                                   11    Jr. Further, the sought-after discovery is neither privileged nor protectable on these
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                                                                                   12    theories. Most of the documents and communications occurring between the
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                                                                                   13    Jaramillos and their son occurred before Jaramillo Jr. ever even thought about
                                                                                   14    hiring a lawyer for purposes of the Underlying Litigation—as Jaramillo Jr. testified
                                                                                   15    in his deposition. Indeed, not only did Jaramillo Jr. admit that he did not retain
                                                                                   16    Attorney Brown until sometime after September 23, 2020 and that he had not
                                                                                   17    considered retaining counsel for purposes of the Underlying Litigation at that time,
                                                                                   18    he expressly stated in writing that he did not want to hire counsel and testified that
                                                                                   19    maintained notes on his computer detailing “the date and time of the [at-issue]
                                                                                   20    interactions and [his] recollection of what happened,” which he shared with the
                                                                                   21    Jaramillos by email.64 Thus, pre-September 23, 2020 communications between the
                                                                                   22    Jaramillos and Jaramillo Jr. cannot be privileged.
                                                                                   23            This is a critical point because Jaramillo Jr.’s pleadings in the Underlying
                                                                                   24    Litigation are littered with quotations presumably pulled from his notes that he
                                                                                   25    testified he took while employed by Area 15 LV and shared with his parents. He
                                                                                   26    specifically testified that most of his “notes” were actually emails that he sent to his
                                                                                   27
                                                                                   28    64
                                                                                              Ex. 5, Jaramillo Jr. Dep., at 192:1-194:8.
                                                                                                                                     21                      CASE NO. 8:23:mc-0004
                                                                                        NOTICE OF MOTION AND MOTION (1) TO ENFORCE SUBPOENAS DUCES
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                                                                                    1    parents. Given that the quotes all relate to statements allegedly made and
                                                                                    2    memorialized in emails by Jaramillo Jr. prior to his termination, and hence well
                                                                                    3    before his retention of legal counsel, those communications and documents are
                                                                                    4    discoverable and not subject to the privileges claimed by Jaramillo Jr.
                                                                                    5          Moreover, Area 15 LV seeks documents that cannot fall under the asserted
                                                                                    6    privileges regardless of the dates of the documents or communication. Even though
                                                                                    7    Attorney Brown employs the Jaramillos, the Subpoenas do not seek documents and
                                                                                    8    communications that seek or give legal advice. They instead seek materials that
                                                                                    9    support—or contradict—the factual allegations made by Jaramillo Jr. in his
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                                                                                   10    complaint, his pleadings, and his deposition in the Underlying Litigation. For
                                                                                   11    example, the Subpoenas seek documents or communications concerning: property
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                                                                                   12    rental agreements between the Jaramillos and Jaramillo Jr.; Jaramillo Jr.'s financial
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                                                                                   13    status, e.g., his ability to afford his rental obligations to the Jaramillos; financial
                                                                                   14    support given to Jaramillo Jr. by the Jaramillos; information about Jaramillo Jr.’s
                                                                                   15    employment prior to that with Area 15 LV; Jaramillo Jr.’s health condition; and the
                                                                                   16    emails Jaramillo Jr. shared with his parents prior to retaining Attorney Brown.
                                                                                   17    These subject matters fall outside of the scope of the privilege, and the documents
                                                                                   18    are therefore discoverable.
                                                                                   19          At the very least, any assertions of privilege should have been accompanied
                                                                                   20    by a privilege log. To date, Jaramillo Jr. provides an incomplete log, at best, despite
                                                                                   21    Attorney Brown promising multiple times to provide a log for the documents
                                                                                   22    Jaramillo Jr. testified to having. The time for providing an adequate log has long
                                                                                   23    expired. So even if the Jaramillos could have raised an objection on the basis of
                                                                                   24    privilege—which they cannot because they lack standing to assert the privilege—
                                                                                   25    they waived the opportunity to do so. The Subpoenas should be enforced
                                                                                   26    accordingly.
                                                                                   27
                                                                                   28
                                                                                                                                   22                        CASE NO. 8:23:mc-0004
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                                                                                    1          D.       The Court Should Order the Jaramillos to Show Cause For Why
                                                                                                        They Should Not Be Held in Contempt
                                                                                    2
                                                                                    3          The Jaramillos should be required to explain why they completely
                                                                                    4    disregarded their obligations under the Subpoenas. A district court “may hold in
                                                                                    5    contempt a person who, having been served, fails without adequate excuse to obey
                                                                                    6    [a Rule 45] subpoena or an order related to it.” Fed. R. Civ. P. 45(g). “A properly
                                                                                    7    issued subpoena is itself a court order and a party's noncompliance may warrant
                                                                                    8    contempt sanctions.” Molina, 2015 WL 5193584, at *2 (citing Pennwalt Corp., 708
                                                                                    9    F.2d at 494 n. 5 and U.S. S.E.C., 621 F.3d at 693)). A party moving for contempt
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                                                                                   10    must show by clear and convincing evidence that the “contemnor” violated a clear
                                                                                   11    and specific court order. Id. (citing Forsythe v. Brown, 281 F.R.D. 577, 587 (D.
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                                                                                   12    Nev. 2012)).
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                                                                                   13          Mr. Jaramillo and Mrs. Jaramillo were served with the Subpoenas on
                                                                                   14    December 22, 2022 and January 9, 2023, respectively. They also had notice of the
                                                                                   15    information sought by the Subpoenas given the original Initial Subpoenas having
                                                                                   16    been served on the Jaramillos on December 15, 2023. Both the Subpoenas at issue
                                                                                   17    and the Initial Subpoenas contain the same requests for production. Yet, despite
                                                                                   18    having over a month of time to produce responsive documents, to object to the
                                                                                   19    subpoenas, or to file a Rule 45 motion, the Jaramillos instead opted to not respond
                                                                                   20    at all. They should be required to explain their inaction, especially in light of their
                                                                                   21    work at a law office where such matters are better understood than by a typical
                                                                                   22    layperson and Mr. Jaramillo’s training and experience as a practicing, now
                                                                                   23    disbarred lawyer. Simply put, the Subpoenas are court orders, and the Jaramillos
                                                                                   24    completely flouted those court orders. They should be ordered to cause for why
                                                                                   25    they should not be held in contempt.
                                                                                   26    IV.   CONCLUSION
                                                                                   27          For these reasons, Area 15 LV respectfully requests that (1) the Motion be
                                                                                   28    transferred to the Nevada District Court; (2) the Jaramillos be ordered to comply
                                                                                                                                   23                        CASE NO. 8:23:mc-0004
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                                                                                    1    with the Subpoenas within 10 days of the entry of the Court’s order granting the
                                                                                    2    Motion; and (3) the Jaramillos be ordered to show cause as to why they should not
                                                                                    3    be held in contempt for their noncompliance to date.
                                                                                    4          The undersigned, counsel of record for Area 15 LV, certifies that this brief
                                                                                    5    contains 6,702 words, which complies with the word limit of L.R. 11-6.1.
                                                                                    6          DATED this 31st day of January, 2023.
                                                                                    7                                 BROWNSTEIN HYATT FARBER SCHRECK, LLP
                                                                                    8
                                                                                    9                                 BY: /s/ Travis F. Chance
                                                                                                                        TRAVIS F. CHANCE, Bar No. 303566
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                                                                                   10                                   EMILY L. DYER, Bar No. 321707
                                                                                                                        Attorneys for Movant
                                                                                   11                                   AREA 15 LAS VEGAS LLC
                                            2049 Cent ury Park East, Suite 3550
                                               Los Angel es, CA 90 067-3550




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                                                                                   10              November 14, 2022 Meet and Confer Letter from
                                                                                             6                                                                      424-441
                                                                                   11              Attorney Travis F. Chance Esq.
                                            2049 Cent ury Park East, Suite 3550
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                                                                                   12              November 18, 2022 Response Letter from Attorney
                                                                                             7                                                                      442-445
                                                                                                   Edwin Brown
                                                       310.500.4600




                                                                                   13
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                                                                                   18        13    Notice of Amended Subpoenas                                      611-750
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                                                                                                   in the Underlying Action
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                                                                                                   Second Email Chain Between Attorney Travis Chance
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